BALLARD ROSENBERG GOLPER & SAVITT, LLP
15760 VENTURA BUULEVARD EIGHTEENTH FLOOR

ENCINO, CALIFORNLA 91436

Case

\Q®--IG\Ul-BOJN|-l

10
11
12
13
14
15
16
17
18
19

v 20

21
22
23
24
25
26
27
28

 

2:17-cv-05752-R-RAO Document 13 Filed 09/26/17 Page 1 of 2 Page |D #:46

(SPACE. BELOW FOR FILING STAMP ONI..Y)

LINDA M]LLER SAVITT, SBN 94164

lsavitt br slaW.com

_JOI-IN . NIER, SBN 145701

manlelra§c§]l?)r slaw.com

ALL OSENBERG GOLPER & SAVITT, LLP

15760 Ventura Boulevard, Eighteenth F100r
Encino, California 91436

T: (818) 508-3700 | F: (818) 506-4827

Attorneys for Defendants BRANT PUTNAM,
M.D., JANINE VINTCH, M.D., ANISH
MAHAJAN, M.D., CHRISTIAN DE VIRGILIO,
M.D., and HAL F. YEE, M.D.

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION

TIMOTHY RYAN, M.D., an Case No. 2:17-cv-05752-R-RAO
individual,
_ _ STIPULATI()N T0 EXTEND TIME T0

Plamtlff» RESPOND To INITIAL COMPLAINT BY

vs. NOT MORE THAN 30 DAYS (L.R. 8-3)

BRAI_\IT PUTNAM 1\/I.Dr.la an _ Complaint Served: Sept. 8, 2017
:§§:;:§E:ll’ JAN“IIJSHH]EMVAI§IA(]:HNMN?BU Current Response Date: Sept. 29, 2017
an individ{lal, CHRISTIAN DE’ ' " New Response Date: Oct. 10, 2017
VIRGILIO, M.D., an individual, HAL
F. YEE, M.D.z an individual, and DOES
l through 50, mclusive,

Defendants.

 

 

486130.1

 

 

 

BALLARD ROSENBERG GOLPER & SAVITT, LLP

]5760 VENTURA BGULEVARD, EIGHTEENTH FLOOR
ENClNo, CALiFoRNLA 91436

CaSe

\D®--JGUl-BUJNI-l

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

DATED: September 26, 2017

DATED: September 26, 2017

486]30.1

 

2:17-cv-05752-R-RAO Document 13 Filed 09/26/17 Page 2 of 2 Page |D #:47

IT IS I-IEREBY STIPULATED between Plaintiff Timothy Ryan, M.D., and
Defendants Brant Putnam, M.D., Janine Vinteh, M.D., Anish Mahaj an, M.D.,
Christian De Virgilio, M.D., and Hal F. Yee, M.D. (collectively "Defendants"),
pursuant to L.R. 8"3, that Defendants' time to respond to Plaintiff‘s initial Complaint
is hereby extended by 11 days, from Septernber 29, 2017, to October 10, 2017.

BALLARD ROSENBERG
GOLPER & SAVITT, LLP

Linda Miller Savitt '

John J'. Manier
Attorneys for Defendants BRANT PUTNAM,
M.D., JANINE VINTCH, M.D., ANISH
MAHAJAN, M.D., CHRISTIAN DE
VIRGILIO, M.D., and HAL F. YEE, M.D.

 

BROWN WHITE & OSBORN LLP

By: %/___W

“"`" THOMAS M. BROWN
KENNETH P. WI-]]TE
Attorneys for Plaintiff

TIMOTHY RYAN, M.D.

 

